
PER CURIAM.
In these consolidated appeals, Mary Seals and Angela Harris appeal the adverse judgment of the District Court1 following a bench trial in their employment-discrimination actions. Seals has moved for preparation of a transcript at government expense. We find that a transcript is unnecessary to our review because both appellants briefed them appeal without a transcript and neither appellant challenges the sufficiency of the evidence. See Bistram v. United States, 248 F.2d 343, 347-48 (8th Cir.1957) (noting that a transcript at government expense was unnecessary where the plaintiff did not challenge the sufficiency of the evidence to sustain the district court’s findings). Having carefully reviewed the parties’ arguments and the submissions on appeal, we find no basis for reversal. Accordingly, we affirm the District Court’s judgment, see 8th Cir. R. 47B, and we deny Seals’s motion.

. The Honorable J. Leon Holmes, Chief Judge, United States District Court for the Eastern District of Arkansas.

